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2012 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey...

Type of Work: Visual Material
Registration Number / Date: VA0002089208 : 2018-02-20
Application Title: 2012 Group Registration Photos, Dr. Elliot McGucken 4SSURF Hero's Odyssey Mythology Fine Ar
Photography, published January 4th, 2012 to December 31st, 2012, Approximately 12,532 Photos.
Title: 2012 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey Mythology Fine Ar
Photography, published January 4th, 2012 to December 31st, 2012, Approximately 12,532 Photos.
Description: Electronic file (eService)
Copyright Claimant: Elliot McGucken. Address: 817 Levering Ave., Apt. 14, Los Angeles, CA, 90024, United States.
Date of Creation: 2012
Date of Publication: 2012-01-04
Nation of First Publication: United States
Authorship on Application: 45SURF Hero's Odyssey Mythology, pseud, of Elliot McGucken (author of pseudonvmous work);
Domicile: United States; Citizenship: United States. Authorship: photograph.

Rights and Permissions: Elliot McGucken, $17 Levering Ave., Apt. 14, Los Angeles, CA, 90024, United States, (310) 806-3647,
(310) $06-3647, goldennumberratio@ gmail.com

Names: MeGucken, Elliot
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2012 Group Registration Photos, Dr. Elliot McGucken S5SURF Hero's Odyssey...

Type of Work: Visual Material
Registration Number / Date: VA0002089208 ; 2018-02-20
Application Title: 201? Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey Mythology Fine Art
Photography, published January th, 2012 to December 31st, 2012, Approximately 12,532 Photos.

Title: 2012 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey Mythology Fine Art
Photography, published January 4th, 2012 to December 31st, 2012, Approximately 12,532 Photos.
Description: Electronic file (eService)
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Date of Creation: 2012
Date of Publication: 2012-01-04

Nation of First Publication: United States

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(310) 806-3647, goldennumberratio@ gmail.com
Names: McGucken, Elliot

AS5SURF Hero's Odvssey Mythology, pseud.

 

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Search Results: Displaying 6 of 39 entries

 

 

 

 

 

 

 

2013 Group Registration Photos, Dr, Elliot McGucken 45SURF Hero's Odyssey...

Type of Work: Visual Material
Registration Number / Date: (2) 7)
Application Title: 2013 Group Registration Photos, Dr. Elliot McGucken 4SSURF Hero's Odyssey

Mythology Fine Art Photography, published January Ist, 2013 to December 3 1st,
2013, Approximately 20,554 Photos .

Title: 2013 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey
Mythology Fine Art Photography, published January Ist, 2013 to December 31st,
2013, Approximately 30,554 Photos .

Description: Electronic file (eService)
Copyright Claimant: Elliot McGucken. Address: 817 Levering Ave., Apt. 14, Los Angeles, CA, 90024,
United States.
Date of Creation: 2013
Date of Publication: 2013-01-01
Nation of First Publication: United States
Authorship on Application: 45SURF Hero’s Odyssey Mythology, pseud. of Elliot McGucken (author of

pseudonymous work); Domicile: United States; Citizenship: United States.
Authorship: photograph.

Rights and Permissions: Elliot McGucken, $17 Levering Ave., Apt. 14, Los Angeles, CA, 90024, United
States, (310) 06-3647, (310) 806-3647, goldennumberratio@gmail.com

   

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2014 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey...

Type of Work: Visual Material

Registration Number / Date

Title:
Description:
Copyright Claimant:

Date of Creation:

Date of Publication:

Nation of First Publication:
Authorship on Application:

Rights and Permissions:

Nanies:

: VA0002089200 2018-02-19
Application Title:

2014 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey
Mythology Fine Art Photography. published January Ist, 2014 to December 31st
2014, Approximately 43,601 Photos.

2014 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey
Mythology Fine Art Photography, published January Ist, 2014 to December 3 Ist,
2014, Approximately 43,601 Photos.

Electronic file (eService)

Elliot McGucken. Address: 817 Levering Ave., Apt. 14, Los Angeles, CA, 90024,
United States.

2014

2014-01-01

United States

45SURF Hero's Odyssey Mythology, pseud. of Elliot McGucken (author of

pseudonymous work); Domicile: United States; Citizenship: United States.
Authorship: photograph.

Elliot McGucken, $17 Levering Ave., Apt. 14, Los Angeles, CA, 90024, United
States, (310) 806-3647, (310) 806- 3647, goldennumberratio@gmail.com

McGucken, Elliot
45SURF Hero’s Odyssey Mythology, pseud.

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2011 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey...

Type of Work: Visual Material
Registration Number / Date: VA0002089213 / 2018-02-19
Application Title: 2011 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey

Mythology Fine Ast Photography, published January Ist, 2011 to December 28th,
2011, Approximately 15,573 Photos. .

Title: 2011 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey
Mythology Fine Art Photography, published J anuary Ist, 2011 to December 28th,
2011, Approximately 15,573 Photos. .

Description: Electronic file (eService)

Copyright Claimant: Elliot McGucken. Address: 817 Levering Ave., Apt. 14, Los Angeles, CA, 90024,
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Date of Creation: 2011
Date of Publication: 2011-01-01
Nation of First Publication: United States
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Names: McGucken, Elliot
A5SURF Hero's Odyssey Mythology, pseud.

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2014 Group Registration Photos, Dr. Elliot McGucken 45SURF Hero's Odyssey...

Type of Work: Visual Material
Registration Number / Date: VA0002089200 ‘ 2018-02-19
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States, (310) 806-3647, (310) 806-3647, goldennumberratio@ gmail.com

 

 

 

 

 

 

 

 

 

 

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Date of Creation: 2011
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States, (310) 806-3647, (310) 806-3647, goldennumberratio@gmail.com
Names: McGucken, Elliot
S5SURF Hero's Odyssey Mythology, pseud,

Feri BS

 

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Thanks & Best,

Elliot

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